 Case 1:20-cv-00381-MN Document 21 Filed 06/18/20 Page 1 of 4 PageID #: 1007




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 AETHER THERAPEUTICS, INC.,                             )
                                                        )
                          Plaintiff,                    )
                                                        )
                   v.                                   )
                                                        ) C.A. No. 20-381-MN
 ASTRAZENECA AB, et al.,                                )
                                                        )
                          Defendants.                   )


                     DEFENDANTS ASTRAZENECA AB, ASTRAZENECA
                  PHARMACEUTICALS LP AND NEKTAR THERAPEUTICS’S
                         MOTION FOR AN EXTENSION OF TIME

        Defendants AstraZeneca AB, AstraZeneca Pharmaceuticals LP, and Nektar Therapeutics

(collectively, “Moving Defendants”) hereby move for an extension of time to move, answer, or

otherwise respond to Plaintiff’s First Amended Complaint for Patent Infringement (D.I. 19), which

was filed on June 11, 2020, and in support thereof, state as follows:

        1.        Plaintiff filed this action for patent infringement on March 18, 2020 (D.I. 1).

        2.        Plaintiff served the Original Complaint on Moving Defendants (see D.I. Nos. 5, 6),

but has not yet served the other named Defendant in this action, Daiichi Sankyo, Inc. The Original

Complaint was 41 pages in length (not counting exhibits) and contained 180 numbered paragraphs.

        3.        Moving Defendants filed Motions to Dismiss the Original Complaint on June 1,

2020. (D.I. Nos. 10-12, 14-15). After Moving Defendants moved to dismiss, Moving Defendants

agreed to grant Plaintiff a two-week extension for their response. (Ex. A).

        4.        Plaintiff filed its First Amended Complaint for Patent Infringement on June 11,

2020 (D.I. 19), which is 135 pages long (not counting exhibits) and contains 612 numbered

paragraphs. Under the Federal Rules of Civil Procedure and Local Rules of this District, Moving



                                                    1
ME1 33645957v.1
    Case 1:20-cv-00381-MN Document 21 Filed 06/18/20 Page 2 of 4 PageID #: 1008




Defendants’ deadline to move, answer, or otherwise respond to the First Amended Complaint

would be June 25, 2020.1

        5.        In order to allow sufficient time to undertake an investigation and prepare a

response to Plaintiff’s numerous newly-added allegations, and in light of obstacles and delay

associated with the COVID-19 pandemic, Moving Defendants requested a 21-day extension to

respond to the First Amended Complaint. Plaintiff rejected Defendants’ request outright, stating

“Aether will not agree to any extension of time to respond to the amended complaint.” (Ex. B).

Moving Defendants stated that they intended to move the Court for the requested 21-day extension,

and Plaintiff responded that it would still not consider any extension unless Moving Defendants

agreed to commit to answering, rather than moving to dismiss. Id. Because Moving Defendants

are still assessing the First Amended Complaint—and indeed, have requested an extension to

determine the appropriate response to it—they were and are unable to make that commitment at

this point in time.

        6.        Delaware counsel spoke about the requested extension via telephone on June 18,

2020, pursuant to their obligations under Local Rule 7.1.1, and Plaintiff indicated it would oppose

any motion by Moving Defendants for an extension.

        7.        Moving Defendants respectfully seek an order, pursuant to Federal Rule of Civil

Procedure 6(b), granting an extension of time to move, answer or otherwise respond to the First

Amended Complaint for 21 days. Federal Rules of Civil Procedure 6(b) provides, in part:

        When by these rules . . . or by order of court an act is required or allowed to be done
        at or within a specified time, the court for cause shown may at any time in its
        discretion (1) with or without motion or notice order the period enlarged if request
        therefor is made before the expiration of the period originally prescribed or as
        extended by previous order . . . .


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 As Daiichi Sankyo, Inc. has not yet been served, its deadline to respond was not triggered, and
Plaintiff’s deadline to serve it with process has elapsed.

                                                  2
ME1 33645957v.1
 Case 1:20-cv-00381-MN Document 21 Filed 06/18/20 Page 3 of 4 PageID #: 1009




Fed. R. Civ. P. 6(b).

        8.        For the reasons stated above, good cause exists to extend the time period by which

Moving Defendants move, answer or otherwise respond to the First Amended Complaint.

Additional time would permit Moving Defendants sufficient time to investigate Plaintiff’s newly-

added allegations and prepare a response. Moreover, it is common (and, in undersigned counsel’s

experience, routine absent exceptional circumstances) that parties agree to a reasonable extensions

to respond to pleadings.

        9.        Plaintiff will not be prejudiced by the requested 21-day extension. There is no

scheduling order in place, and there are no activities scheduled to occur in this case during the

requested period. Not only is Plaintiff’s position to deny a routine extension unreasonable at this

stage, Plaintiff’s purported reasoning for denying the request because “they want to get the case

started,” (Ex. B), is belied by its earlier request for an extension, (Ex. A), and the fact that it waited

5 years after the accused product had received marketing approval to file this action—and then has

not even served the fourth Defendant, Daiichi Sankyo, Inc., with process.

        WHEREFORE, Moving Defendants respectfully request that the Court grant this Motion

and enter an order in the form attached hereto extending the deadline move, answer, or otherwise

respond to the First Amended Complaint to July 16, 2020.




                                                    3
ME1 33645957v.1
 Case 1:20-cv-00381-MN Document 21 Filed 06/18/20 Page 4 of 4 PageID #: 1010




Dated: June 18, 2020                  MCCARTER & ENGLISH, LLP

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                                      4
ME1 33645957v.1
